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Los ANGELES, CA 90036

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Attorneys for Plaintiff, JARRELL RAYVON ALLEN

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF CALIFORNIA

JARRELL RAYVON ALLEN, an
individual,

Plaintiffs,

Vv.

COUNTY OF RIVERSIDE, a
California municipal entity;
RIVERSIDE COUNTY SHERIFF'S
DEPARTMENT, a California municipal
entity; CORPORAL LUIS IBARRA, an
individual; DEPUTY NIGEL HINSON,
an individual; DEPUTY MATT
BILTON, an individual; DEPUTY
ANTHONY LEVESQUE, an
individual, DEPUTY SHERIFF
LORENA MIRANDA, an individual;
DEPUTY ANDREW PEARSON, an
individual; DEPUTY JOSEPH
RODRIGUEZ, an individual; and

DOES 1-30, inclusive,

Defendants.

 

 

 

 

Case No.:

 

COMPLAINT FOR DAMAGES:

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Excessive Force; 42 U.S.C. §
1983;

Excessive Force; 42 U.S.C. §
1983, Monell;

Failure to Train, Supervise,
and Discipline; 42 U.S.C. §
1983, Monell;

Negligence;

Battery;

Intentional Infliction Of
Emotional Distress;
Discrimination/Civil Rights
Violations (Civil Code § 51.7);
Civil Rights Violations (Civil
Code § 52.1(b)(h))

DEMAND FOR JURY TRIAL

Plaintiff JARRELL RAYVON ALLEN (herein “Plaintiff’) hereby alleges

as follows:

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PLAINTIFF’S COMPLAINT AND DEMAND FOR JURY TRIAL

 

 
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INTRODUCTORY STATEMENT
This is a civil rights action seeking monetary damages from Defendants for
violating various rights under the United States Constitution and California state
law in connection with the wrongful use of excessive force against Plaintiff on
May 26, 2018.
JURISDICTION

1. This is a civil suit brought under the Federal Civil Rights Act, 42 U.S.C. §
1983 for violation of Plaintiffs rights as secured by the United States
Constitution. This court has “Federal Question” subject matter jurisdiction over
the parties and claims pursuant to 28 U.S.C. §1343(3) and 28 U.S.C. $1331. The
Court has personal jurisdiction over the parties in that each defendant is a citizen
of the state of California and a resident of the County of Riverside. Defendants
performed all torts alleged herein in the County of Riverside.

VENUE

2. Venue is proper in the Central District of California under 28 U.S.C.
sections 1391 (a) and (b) in that the underlying acts and injuries upon which the
present action is based occurred in the County of Riverside, California. Moreover,
all of the defendants live and work in the County of Riverside.

PARTIES

3. JARRELL RAYVON ALLEN is and was at all relevant times herein, an
individual residing in Riverside County, State of California.

4, Defendant COUNTY OF RIVERSIDE (herein “COUNTY”) is and was at
all times relevant herein, a municipal corporation and political subdivision,
organized and existing under the laws of the State of California, and owns,
operates, manages, directs and/or controls RIVERSIDE COUNTY SHERIFF'S
DEPARTMENT.

5. On July 9, 2018, Plaintiff presented Defendant COUNTY with a Claim for

Damages sustained as a result of the incident described in this Complaint pursuant
2

 

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to California Government Code §§ 905, 910 et seq. Attached as Exhibit “A” and
incorporated herein by this reference is a true and correct copy of Plaintiff's Claim
for Damages presented to COUNTY. As the date of the filing of the instant
Complaint, said Claim has been deemed denied by operation of law.

6. Defendant RIVERSIDE COUNTY SHERIFF'S DEPARTMENT (herein
“RCSD”) is and was at all times relevant herein, a municipal corporation and a
subdivision of the COUNTY.

7. Defendants CORPORAL LUIS IBARRA (“IBARRA”), DEPUTY NIGEL
HINSON (“HINSON”), DEPUTY MATT BILTON (“BILTON”), DEPUTY
ANTHONY LEVESQUE (“LEVESQUE”), DEPUTY SHERIFF LORENA
MIRANDA (“MIRANDA”), DEPUTY ANDREW PEARSON (“PEARSON”),
and DEPUTY JOSEPH RODRIGUEZ (“JOSEPH RODRIGUEZ”) (collectively
“INDIVIDUAL DEPUTIES”) are, and at all pertinent times were, individuals
employed in the County of Riverside by Defendants COUNTY and RCSD and
supervised and controlled by Defendants COUNTY and RCSD, as well as through
other COUNTY and RCSD policymakers and managers.

8. The true names and/or capacities, whether individual, corporate, associate
or otherwise of Defendants DOES 1 through 30, inclusive, and each of them, are
unknown to Plaintiffs, who therefore sue said Defendants by such fictitious
names. Plaintiffs will amend this Complaint to allege such defendants’ true names
and capacities when same have been ascertained. Plaintiffs are informed and
believes and thereon alleges that each of the fictitiously named Defendants is
responsible in some manner for the acts and occurrences herein alleged, whether
such acts and occurrences were committed intentionally, negligently, recklessly or
otherwise and that each said DOE defendant is liable to plaintiff for the damages
claimed herein. Plaintiff is informed and believes and thereupon alleges that each
of the Defendants herein fictitiously named as a DOE is legally responsible,

negligently or in some other actionable manner, for the events and happenings
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PLAINTIFF’S COMPLAINT AND DEMAND FOR JURY TRIAL

 
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1 || hereinafter referred, and therefore, proximately caused the injuries and damages to
2 || Plaintiffs as herein alleged.

3 9, In doing the acts alleged in this complaint, Defendants, and each of them,

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were acting under the color of statutes, ordinances, regulations, customs, laws, and
usages of the COUNTY and RCSD and the State of California and under the

authority of their respective offices.

“SN

10. Defendants, and each of them, were the agents, employees and servants of
8 |leach other and were acting at all times within the full course and scope of their

9 |lagency and employment, with the full knowledge and consent, either expressed or
10 |}implied, of their principal and/or employer and each of the other named

11 || Defendants, and each of the Defendants had approved or ratified the actions of the
12 || other Defendants thereby making all named Defendants herein liable for the acts
13 || and/or omissions of their agents, servants and/or employees.

14 FACTS SHARED BY ALL CAUSES OF ACTION

15 11. Plaintiff repeats and re-alleges all prior paragraphs of this Complaint and
16 || incorporates the same herein by this reference as if those paragraphs were set forth
17 ||in full herein.

18 12. On June 7, 2018, a Riverside County Grand Jury report titled “Riverside

19 || County Sheriff’s Department Corrections Division - Correctional Centers Inmate
20 || Services Issues,” notified Defendants COUNTY and RCSD of their responsibility
21 || of “providing a safe and secure environment for humane care of detained or

22 ||incarcerated citizens.”

23 13. The Riverside County Grand Jury report notified Defendants COUNTY

24 ||and RCSD that the “[t]he grievance procedure is a method designed to allow an
25 |linmate/detainee to document a complaint regarding a variety of issues within the
26 || detention facility or department” and is “an important tool to rectify and mitigate
27 || problems brought to the attention of detention staff.”

28 14. The Riverside County Grand Jury report recommended Defendants

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PLAINTIFF’S COMPLAINT AND DEMAND FOR JURY TRIAL

 

 

 

 
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COUNTY and RCSD to adopt the following: (a) All grievance responses should
be written in a professional manner and be reviewed by a supervisor ensuring that
the responses are professional. If the lieutenant finds a complaint is sustained, then
it should be forwarded to the captain level for the appropriate disposition; (b)
Policies and procedures should be modified to reflect this process; (c) All staff
should receive appropriate annual training on properly and professionally
responding to a grievance; (d) Grievance responses should include the
policy/procedure number(s) as the reference correlating to the response for either
granting or denying the grievance.

15, The Riverside County Grand Jury report also notified Defendants
COUNTY and RCSD that the “California Government Code §26202.6(a)(c) with
respect to video recordings requires that they be available for review for one year
after the date of the original recording.” The Riverside County Grand Jury did not
receive requested videos due to the fact that “they had been reported lost due to a
failure of the recording device.”

16. The Riverside County Grand Jury report recommended Defendants
COUNTY and RCSD the following: (1) provide preservation of audio/video
recordings for a minimum of one year in accordance with the California
Government Code §26202.6 (a) (c), and (2) provide a reliable video record,
backup recorders should be available to replace units found to be malfunctioning.
Checks of full functionality should be completed at least once per shift in areas
such as exercise yards and Administrative Segregation and dayrooms. Sufficient
tapes or digital media should be made available to meet the one year retention
period required in Government Code §26202.6 (a) (c).

17. On or before May 26, 2018, Plaintiff was an inmate at the Larry D. Smith
Correctional Facility (“Correctional Facility”), located at 1627 Hargrave Street in
Banning, California. At all relevant times mentioned here, Plaintiff's booking

number was 201724927.

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PLAINTIFF’S COMPLAINT AND DEMAND FOR JURY TRIAL

 

 
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1 18. On May 26, 2018, possibly at around 11:30 a.m., Defendant IBARRA told
2 || Plaintiff to step out of the dayroom of the Correctional Facility and to place his
3 || hands behind his back. Plaintiff complied with Defendant IBARRA’s command.
4 19. Without reasonable cause or warning, Defendant IBARRA slammed
5 || Plaintiffs face into the wall and began to repeatedly punch Plaintiff in the head
and face.

20. Plaintiff covered his face with his hands in an attempt to divert the punches
8 || by Defendant IBARRA.
9 21. Another Deputy Defendant DOE 1 appeared from Plaintiff's behind and
10 || began to repeatedly punch Plaintiff in the head.
11 22. Plaintiff fell to the ground and continued to cover his face in an attempt to
12 || protect himself from harm.
13 23. A third Deputy Defendant DOE 2 appeared and began kicking Plaintiff
14 || while Plaintiff was laying on the ground covering his face.
15 24. The three Deputy Defendants, including Defendant IBARRA and DOES 1
16 || through 2, proceeded to kick and beat the Plaintiff repeatedly while he was laying
17 || on the ground.
18 25. Plaintiff made no acts and/or movements that solicited and/or justified the
19 || excessive force and battery committed on him.
20 26. Plaintiff sustained severe injuries, including but not limited to the
21 || following: (1) bruising and swelling on his face and head; (2) difficulty eating due
22 ||to injuries to his mouth and face; (3) swollen “black eyes;” (4) injuries to his
23 ||hands from being beaten while handcuffed; (5) difficulty walking due to pain in
24 ||his legs; (6) severe pain over much of his body.
25 27. Plaintiff was denied medical care and placed in a cell to bleed profusely for
26 || hours.
27 28. On information and belief, possible motivations for the attack may have

28 ||included (1) grievances submitted regarding correctional officers wherein Plaintiff

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PLAINTIFF’S COMPLAINT AND DEMAND FOR JURY TRIAL

 

 

 
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1 || was choked while in handcuffs and beaten and kicked in the face while lying on
2 ||the ground; (2) the fact that Plaintiff had refused a plea bargain in his criminal

3 || prosecution and had insisted on proceeding to trial; (3) that Plaintiff had

4 || succeeded in moving the Court to order the disclosure of peace officer personnel

5 || files in his criminal prosecution; and (4) that one of the deputy/officer witnesses in

6 || Plaintiff's criminal prosecution had been caught and possibly indicted for perjury
7 || and/or falsifying evidence.
8 29. On information and belief, a reasonable law enforcement officer would not

9 ||have used excessive force against Plaintiff under the same circumstances because:
10 ||(a) Plaintiff was cooperating and was not resisting; (b) Plaintiff was unarmed; (c)
11 || Plaintiff was not a threat to anyone and as such Defendants and each of them,

12 ||could not have reasonably believed that they were in imminent danger of being
13 || killed, injured or touched unlawfully; and (d) even if there was any imminent

14 ||danger, DEFENDANTS and each of them, used more force than was necessary
15 || when several Defendants took turns to beat an unarmed Plaintiff.

16 30. At all times relevant hereto, Defendants COUNTY and RCSD were

17 ||responsible for the training of all officers of Defendants COUNTY and RCSD in
18 || the proper care of individuals within their custody. Defendants IBARRA,

19 || HINSON, BILTON, LEVESQUE, MIRANDA, PEARSON, and RODRIGUEZ
20 || were trained by the COUNTY and RCSD, at the direction, special insistence, and
21 ||under the control of Defendants COUNTY and RCSD, in the proper care of

22 ||individuals within their custody in accordance with the statutes, ordinances,

23 ||regulations, customs, and usages of Defendants COUNTY and RCSD and the

24 || State of California. Defendant COUNTY was also responsible for enforcing the
25 ||regulations of the RCSD and for ensuring that law enforcement personnel of the
26 || RCSD obeyed the laws of the State of California and the United States of

27 || America.

28 31. Defendants COUNTY and RCSD, by and through their supervisory

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PLAINTIFF’S COMPLAINT AND DEMAND FOR JURY TRIAL

 

 

 

 
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employees and officials, have been on notice through complaints, both formal and
informal, that its officers have repeatedly engaged in a pattern and practice of
purposefully abridging the rights, constitutional and otherwise, of persons within
their jurisdiction. Despite such notice, the COUNTY and RCSD, and certain of
the DOE Defendants, and each of them, demonstrated deliberate indifference to
this pattern and practice of violations of rights by failing to take necessary,
appropriate, or adequate measures to ensure the cessation of such conduct. This
deliberate indifference of the Defendants amounts to an informal policy or
custom, and ratification, said policy or custom ratified being another proximate
cause of the injury to Plaintiffs.

32. As a direct and proximate cause of the acts alleged above, Plaintiff has had
to hire the services of an attorney. Plaintiff has incurred and continues to incur
legal expenses, costs, and attorneys’ fees, and is entitled to an award of attorneys’
fees and costs pursuant to 42 U.S.C. § 1988(b). Plaintiff is presently unaware of
the precise amount of these expenses and fees and prays leave of court to amend
this Complaint when the amounts are more fully known.

FIRST CAUSE OF ACTION
EXCESSIVE FORCE -— 42 U.S.C. § 1983
(Against Defendants IBARRA, HINSON, BILTON, LEVESQUE,
MIRANDA, PEARSON, RODRIGUEZ, and DOES 1-30, inclusive, only)

33. Plaintiff repeats and re-alleges all prior paragraphs of this Complaint and
incorporates the same herein by this reference as if those paragraphs were set forth
in full herein.

34. Amongst other things and actions, Defendants IBARRA, HINSON,
BILTON, LEVESQUE, MIRANDA, PEARSON, RODRIGUEZ and Does |
through 30, and each of them, used and/or supported and ratified the use of
excessive force when they surrounded Plaintiff while he was unarmed, and

proceeded to batter Plaintiff's person repeatedly by punching and kicking him
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PLAINTIFF’S COMPLAINT AND DEMAND FOR JURY TRIAL

 
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1 || even though Plaintiff never threatened physical violence upon any of the named
2 || Defendants nor was he able to carry out any type of physical violence upon named
3 || Defendants while he was laying on the ground. The named Defendants and each

4 ||of them, acted under color of law at all times relevant to this Complaint.

5 35. On information and belief, a reasonable law enforcement officer would not
6 ||have used excessive force against Plaintiff under the same circumstances because:
7 || (a) Plaintiff was cooperating and was not resisting; (b) Plaintiff was unarmed; (c)

8 || Plaintiff was not a threat to anyone and as such Defendants and each of them,

9 || could not have reasonably believed that they were in imminent danger of being
10 || killed, injured or touched unlawfully; and (d) even if there was any imminent
11 ||danger, Defendants and each of them, used more force than was necessary when
12 || several Defendants took turns to beat an unarmed and handcuffed Plaintiff.
13 36. As a result, the officers’ use of excessive force was objectively
14 || unreasonable under the circumstances. The excessive force used was also
15 || performed with a deliberate indifference to the safety and welfare of Plaintiff.
16 || Defendants IBARRA, HINSON, BILTON, LEVESQUE, MIRANDA,
17 || PEARSON, RODRIGUEZ, and DOES 1 through 30’s actions thus deprived
18 || Plaintiff of his right to be free from the use of excessive force by law enforcement
19 |}as guaranteed to him under the Fourth Amendment of the United States
20 || Constitution.
21 37. As a direct and proximate result of Defendants IBARRA, HINSON,
22 || BILTON, LEVESQUE, MIRANDA, PEARSON, RODRIGUEZ, and DOES 1-
23 |)30’s deprivations and violations of Plaintiffs Fourth Amendment rights, Plaintiff
24 ||suffered and continues to suffer general and special damages according to proof at
25 || the time of trial.
26 38. As a further direct and proximate result of the foregoing, Plaintiff suffered
27 || severe physical injuries inflicted upon him by County personnel, including but not

28 || limited to the following: (1) bruising and swelling on his face and head; (2)

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PLAINTIFF’S COMPLAINT AND DEMAND FOR JURY TRIAL

 

 

 

 
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difficulty eating due to injuries to his mouth and face; (3) swollen “black eyes;”
(4) injuries to his hands from being beaten while handcuffed; (5) difficulty
walking due to pain in his legs; (6) severe pain over much of his body.

39. As a further direct and proximate result of the foregoing, Plaintiff suffered
and continues to suffer from physical ailments, depression, nightmares, mental
anguish, irritability, anxiety, short-temper, moodiness, difficulty sleeping, social
withdrawal, tearfulness, and anger.

40. Defendants IBARRA, HINSON, BILTON, LEVESQUE, MIRANDA,
PEARSON, RODRIGUEZ, and DOES 1 through 30’s violations of Plaintiffs
rights as guaranteed by the Fourth Amendment of the United States Constitution
entitles Plaintiff to reasonable attorneys' fees and costs of suit pursuant to 42
U.S.C. § 1988(b).

41. In committing the acts described above, Plaintiff is informed and believes,
and thereon allege that Defendants IBARRA, HINSON, BILTON, LEVESQUE,
MIRANDA, PEARSON, RODRIGUEZ, and DOES 1 through 30, only, and each
of them, acted with oppression, fraud, and/or malice, entitling Plaintiffs to an
award of punitive damages under 42 U.S.C. § 1983 and California Code of Civil
Procedure § 337.34 against Defendant IBARRA, HINSON, BILTON,
LEVESQUE, MIRANDA, PEARSON, and RODRIGUEZ in an amount
according to proof at time of trial.

SECOND CAUSE OF ACTION
EXCESSIVE FORCE, 42 U.S.C. § 1983, MONELL
(Plaintiffs v. COUNTY, RCSD, and DOES 1-30)

42. Plaintiffs re-allege and incorporates by reference each and every allegation
contained in this Complaint as though set forth herein in full.

43, Defendants COUNTY, RCSD, and DOES 1 through 30 maintained an
unconstitutional custom, policy or practice, within the meaning of Monell v.

Department of Social Services of the City of New York, 436 U.S. 658
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PLAINTIFF’S COMPLAINT AND DEMAND FOR JURY TRIAL

 

 

 
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(1978) (“Monell”), for detaining and/or arresting individuals with the use of
excessive and/or deadly force that deprived and continues to deprive persons of
life, liberty and property.

44, Defendants either knew or had constructive knowledge that it should train
its law enforcement personnel in the use of proper force when detaining an
unarmed and/or handcuffed detainee within their custody. Despite having this
knowledge, Defendants condoned, tolerated and through actions and inactions
thereby ratified such policies.

45. The unconstitutional policy, custom, practice and refusal of Defendants
COUNTY and RCSD to train its employees, including INDIVIDUAL
DEPUTIES, on the use of proper force when detaining an unarmed and
handcuffed detainee, described above, was a direct cause of Plaintiff’s injuries in
this case, without which the injuries would not have occurred.

46. By perpetrating, sanctioning, tolerating, and ratifying the conduct and other
wrongful acts, Defendants COUNTY and RCSD acted with an intentional,
reckless, and callous disregard for the life and constitutional and human rights of
Plaintiff.

47, The conduct alleged herein violated Plaintiff's right alleged above which
has legally, proximately, foreseeably and actually caused Plaintiffs to suffer
general and special damages according to proof at the time of trial.

48. As a direct and proximate result of Defendants IBARRA, HINSON,
BILTON, LEVESQUE, MIRANDA, PEARSON, RODRIGUEZ, and DOES 1
through 30’s deprivations and violations of Plaintiff's Fourth Amendment rights,
Plaintiff suffered and continues to suffer general and special damages according to
proof at the time of trial.

49, As a further direct and proximate result of the foregoing, Plaintiff suffered
severe physical injuries inflicted upon him by County personnel, including but not

limited to the following: (1) bruising and swelling on his face and head; (2)
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PLAINTIFF’S COMPLAINT AND DEMAND FOR JURY TRIAL

 

 

 
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difficulty eating due to injuries to his mouth and face; (3) swollen “black eyes;”
(4) injuries to his hands from being beaten while handcuffed; (5) difficulty
walking due to pain in his legs; (6) severe pain over much of his body.

50. As a further direct and proximate result of the foregoing, Plaintiff suffered
and continues to suffer from physical ailments, depression, nightmares, mental
anguish, irritability, anxiety, short-temper, moodiness, difficulty sleeping, social
withdrawal, tearfulness, and anger.

51. Defendants IBARRA, HINSON, BILTON, LEVESQUE, MIRANDA,
PEARSON, RODRIGUEZ, and DOES 1 through 30’s violations of PLAINTIFF’s
rights as guaranteed by the Fourth Amendment of the United States Constitution
entitles Plaintiff to reasonable attorneys' fees and costs of suit pursuant to 42
U.S.C. § 1988(b).

52. In committing the acts described above, Plaintiff is informed and believes,
and thereon alleges that Defendants IBARRA, HINSON, BILTON, LEVESQUE,
MIRANDA, PEARSON, RODRIGUEZ, and DOES 1 through 30, only, and each
of them, acted with oppression, fraud, and/or malice, entitling Plaintiffs to an
award of punitive damages under 42 U.S.C. § 1983 and California Code of Civil
Procedure § 337.34 against Defendant IBARRA, HINSON, BILTON,
LEVESQUE, MIRANDA, PEARSON, and RODRIGUEZ in an amount
according to proof at time of trial.

THIRD CAUSE OF ACTION
FAILURE TO PROPERLY TRAIN, SUPERVISE AND DISCIPLINE, 42
U.S.C. § 1983, MONELL
(Plaintiffs v. COUNTY, RCSD, and DOES 1-30)

53. Plaintiffs re-allege and incorporates by reference each and every allegation
contained in this complaint as though set forth herein in full.

54. The COUNTY, RCSD, and DOES 1 through 30 as a matter of custom,

practice, and policy, failed to maintain adequate and proper training for officers
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PLAINTIFF’S COMPLAINT AND DEMAND FOR JURY TRIAL

 

 

 
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and law enforcement personnel in the RCSD necessary to educate the officers as
to the Constitutional rights of detainees, to prevent the consistent and systematic
use of excessive force by detaining officers, deputies, and/or sheriffs, and/or to
prevent the excessive force and extra judicial punishment of potential detainees by
its officers, deputies and/or sheriffs.

55. Defendants COUNTY, RCSD, and DOES 1 through 30 also failed to
provide adequate supervision and discipline to officers, deputies, and/or sheriffs
that hold the power, authority, insignia, equipment, weapons, and/or other type of
means entrusted to them as described herein. COUNTY and RCSD also failed to
promulgate and enforce adequate policies and procedures related to the use of
proper force, and when to cease and desist the use of excessive force in detaining
an unarmed and/or handcuffed detainee.

56. Defendants COUNTY and RCSD’S failures to supervise and discipline
offending officers, deputies, and/or sheriffs that fostered and/or practiced the
custom, practice, and/or policy to use excessive force towards unarmed and/or
handcuffed detainees within RCSD resulted in the brutal and violent attack to
Plaintiffs person.

57. By perpetrating, sanctioning, tolerating, and ratifying the conduct and other
wrongful acts, Defendants COUNTY and RCSD acted with an intentional,
reckless, and callous disregard for the life and constitutional and human rights of
Plaintiff.

58. Said custom, practice, and policy included a failure to adequately
investigate, supervise and discipline offending officers that fostered the custom,
practice, and policy within the RCSD which resulted in the brutal and violent
attack to Plaintiffs person.

59, Therefore, these Defendants, with deliberate indifference, disregarded a
duty to protect the public from official misconduct.

60. The failure to promulgate or maintain constitutionally adequate policies
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PLAINTIFF’S COMPLAINT AND DEMAND FOR JURY TRIAL

 

 

 
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regarding training and impartiality was done with deliberate indifference to the
rights of Plaintiff and others in his position.

61. The constitutionally infirm lack of adequate training, supervision, and
discipline as to the officers and law enforcement personnel in this case caused
Plaintiff to suffer general and special damages according to proof at the time of
trial.

62. As a direct and proximate result of Defendants IBARRA, HINSON,
BILTON, LEVESQUE, MIRANDA, PEARSON, RODRIGUEZ, and DOES 1
through 30’s deprivations and violations of Plaintiff's Fourth Amendment rights,
Plaintiff suffered and continues to suffer general and special damages according to
proof at the time of trial. |

63. As a further direct and proximate result of the foregoing, Plaintiff suffered
severe physical injuries inflicted upon him by County personnel, including but not
limited to the following: (1) bruising and swelling on his face and head; (2)
difficulty eating due to injuries to his mouth and face; (3) swollen “black eyes;”
(4) injuries to his hands from being beaten while handcuffed; (5) difficulty
walking due to pain in his legs; (6) severe pain over much of his body.

64, As a further direct and proximate result of the foregoing, Plaintiff suffered
and continues to suffer from physical ailments, depression, nightmares, mental
anguish, irritability, anxiety, short-temper, moodiness, difficulty sleeping, social
withdrawal, tearfulness, and anger.

65. Defendants IBARRA, HINSON, BILTON, LEVESQUE, MIRANDA,
PEARSON, RODRIGUEZ, and DOES 1 through 30’s violations of PLAINTIFF’s
rights as guaranteed by the Fourth Amendment of the United States Constitution
entitles Plaintiff to reasonable attorneys' fees and costs of suit pursuant to 42
U.S.C. § 1988(b).

66. In committing the acts described above, Plaintiff is informed and believes,

and thereon allege that Defendants IBARRA, HINSON, BILTON, LEVESQUE,
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PLAINTIFF’S COMPLAINT AND DEMAND FOR JURY TRIAL

 

 

 
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MIRANDA, PEARSON, RODRIGUEZ, and DOES 1-30, only, and each of them,
acted with oppression, fraud, and/or malice, entitling Plaintiffs to an award of
punitive damages under 42 U.S.C. § 1983 and California Code of Civil Procedure
§ 337.34 against Defendant IBARRA, HINSON, BILTON, LEVESQUE,
MIRANDA, PEARSON, and RODRIGUEZ in an amount according to proof at
time of trial.
FOURTH CAUSE OF ACTION
NEGLIGENCE
(Against All Defendants)

67. Plaintiffs re-allege and incorporates by reference each and every allegation
contained in this complaint as though set forth herein in full.

68. On or about May 26, 2018, at the time and place described above, each of
the Defendants IBARRA, HINSON, BILTON, LEVESQUE, MIRANDA,
PEARSON, RODRIGUEZ, and DOES 1 through 30 were sheriff deputies acting
within the course and scope of their employment who negligently, carelessly, and
without reasonable care used excessive force and battered Plaintiff. Alternatively,
at the time and place described above, each of the Defendants came upon Plaintiff
and negligently, carelessly and/or recklessly concluded that he presented a risk of
death or serious injury or harm to one of them, thereby necessitating the use of
severe and deadly force against him.

69. Defendants IBARRA, HINSON, BILTON, LEVESQUE, MIRANDA,
PEARSON, RODRIGUEZ, and DOES 1 through 30, and each of them, had the
duty to exercise ordinary care towards the Plaintiff and should have known that
subjecting the Plaintiff to conduct described herein would lead to bodily injury or
death and foreseeably cause the Plaintiff to suffer harm.

70. Defendants IBARRA, HINSON, BILTON, LEVESQUE, MIRANDA,
PEARSON, RODRIGUEZ, and DOES 1 through 30, breached their legal duty by

failing to act reasonably in light of the circumstances.
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71. As a legal result of the Defendants' negligent conduct as described here,
Plaintiff suffered and continues to suffer general and special damages according to
proof at the time of trial, as provided in Cal. Code of Civ. Proc. §§ 425.10 and
425.11.

72. As a further direct and proximate result of the foregoing, Plaintiff suffered
severe physical injuries inflicted upon him by County personnel, including but not
limited to the following: (1) bruising and swelling on his face and head; (2)
difficulty eating due to injuries to his mouth and face; (3) swollen “black eyes;”
(4) injuries to his hands from being beaten while handcuffed; (5) difficulty
walking due to pain in his legs; (6) severe pain over much of his body.

73. As a further direct and proximate result of the foregoing, Plaintiff suffered
and continues to suffer from physical ailments, depression, nightmares, mental
anguish, irritability, anxiety, short-temper, moodiness, difficulty sleeping, social
withdrawal, tearfulness, and anger.

74. On information and belief, the wrongful acts and conduct of Defendants
IBARRA, HINSON, BILTON, LEVESQUE, MIRANDA, PEARSON,
RODRIGUEZ, and DOES 1 through 30, as set forth above, was conducted or
occurred deliberately, intentionally, knowingly, maliciously, willfully, wantonly,
and with conscious and reckless disregard for the rights and safety of Plaintiff,
entitling Plaintiff to an award of exemplary damages as provided by Section
337.34 of the California Code of Civil Procedure.

75. The COUNTY and RCSD are vicariously liable for the wrongful acts of
Defendants IBARRA, HINSON, BILTON, LEVESQUE, MIRANDA,
PEARSON, RODRIGUEZ, and DOES 1 through 30 pursuant to section 815.2 of
the California Government Code, which provides that a public entity is liable for
the injuries caused by its employees within the scope of the employment if the

employee’s act would subject him or her to liability.

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PLAINTIFF’S COMPLAINT AND DEMAND FOR JURY TRIAL

 

 
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FIFTH CAUSE OF ACTION
BATTERY
(Against All Defendants)

70. Plaintiffs re-allege and incorporates by reference each and every allegation
contained in this complaint as though set forth herein in full.

71.Plaintiff is informed and believes that Defendants IBARRA, HINSON,
BILTON, LEVESQUE, MIRANDA, PEARSON, RODRIGUEZ, and DOES 1
through 30, with the knowledge, permission and consent of Defendants COUNTY
and RCSD, decided to batter Plaintiff and use excessive force against him,
including kicking and beating the Plaintiff repeatedly while he was laying on the
ground and choking the Plaintiff while he was handcuffed, though Plaintiff had
not posed any reasonable threat of death or serious bodily injury to anyone.

72. Plaintiff did not consent to being battered or the use of that excessive force
being employed upon his person.

73. Each of the Defendants IBARRA, HINSON, BILTON, LEVESQUE,
MIRANDA, PEARSON, RODRIGUEZ, and DOES 1 through 30 battered
Plaintiff, including kicking and beating the Plaintiff repeatedly while he was
laying on the ground and choking the Plaintiff while he was handcuffed, with the
intent to harm and/or offend him. Plaintiff was in fact harmed by the attack,
resulting in his sustaining severe pain and injury to his mind and body.

74. As a direct and proximate result of the battery and excessive force
described above, Plaintiff suffered severe physical injuries inflicted upon him by
County personnel, including but not limited to the following: (1) bruising and
swelling on his face and head; (2) difficulty eating due to injuries to his mouth and
face; (3) swollen “black eyes;” (4) injuries to his hands from being beaten while
handcuffed; (5) difficulty walking due to pain in his legs; (6) severe pain over
much of his body.

75. As a further direct and proximate result of the foregoing, Plaintiff suffered

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and continues to suffer from physical ailments, depression, nightmares, mental
anguish, irritability, anxiety, short-temper, moodiness, difficulty sleeping, social
withdrawal, tearfulness, and anger.

76. As a direct and proximate result of the negligent and careless acts
described above, Plaintiff has been generally and specially damaged in a sum to
be established according to proof at the time of trial, as provided in Cal. Code of
Civ. Proc. §§ 425.10 and 425.11.

77. On information and belief, the wrongful acts and conduct of Defendants
IBARRA, HINSON, BILTON, LEVESQUE, MIRANDA, PEARSON,
RODRIGUEZ, and DOES 1 through 30, as set forth above, was conducted or
occurred deliberately, intentionally, knowingly, maliciously, willfully, wantonly,
and with conscious and reckless disregard for the rights and safety of Plaintiff,
entitling Plaintiff to an award of exemplary damages as provided by Section
337.34 of the California Code of Civil Procedure.

78. The COUNTY and RCSD are vicariously liable for the wrongful acts of
Defendants IBARRA, HINSON, BILTON, LEVESQUE, MIRANDA,
PEARSON, RODRIGUEZ, and DOES 1 through 30 pursuant to section 815.2 of
the California Government Code, which provides that a public entity is liable for
the injuries caused by its employees within the scope of the employment if the
employee’s act would subject him or her to liability.

SIXTH CAUSE OF ACTION
INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
(Against All Defendants)

79. Plaintiffs re-allege and incorporates by reference each and every allegation
contained in this complaint as though set forth herein in full.

80. While being detained by Defendants IBARRA, HINSON, BILTON,
LEVESQUE, MIRANDA, PEARSON, RODRIGUEZ, and DOES 1 through 30,

and while in the custody of the Defendants COUNTY and RCSD, Plaintiff was

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harassed, beaten and subjected to excessive force, including kicking and beating
the Plaintiff repeatedly while he was laying on the ground and choking the
Plaintiff while he was handcuffed.

81. By their herein described unprivileged and unlawful conduct, Defendants
IBARRA, HINSON, BILTON, LEVESQUE, MIRANDA, PEARSON,
RODRIGUEZ, and DOES 1 through 30, clearly engaged in extreme, outrageous,
malicious, and unprivileged conduct, that was intended to cause, and did cause, or
recklessly disregarded the probability of causing, Plaintiff to suffer severe
emotional and mental distress.

82. As a direct, legal and/or proximate result of the herein described unlawful
and unprivileged conduct, Plaintiff suffered severe emotional and mental distress
including, but not limited to, shock to his nervous system, mental anguish, fright,
horror, nervousness, grief, anxiety, worry, humiliation, and shame.

83. On information and belief, the wrongful acts and conduct of Defendants
IBARRA, HINSON, BILTON, LEVESQUE, MIRANDA, PEARSON,
RODRIGUEZ, and DOES 1 through 30, as set forth above, was conducted or
occurred deliberately, intentionally, knowingly, maliciously, willfully, wantonly,
and with conscious and reckless disregard for the rights and safety of Plaintiff,
entitling Plaintiff to an award of exemplary damages as provided by Section
337.34 of the California Code of Civil Procedure.

84. The COUNTY and RCSD are vicariously liable for the wrongful acts of
Defendants IBARRA, HINSON, BILTON, LEVESQUE, MIRANDA,
PEARSON, RODRIGUEZ, and DOES 1 through 30 pursuant to section 815.2 of
the California Government Code, which provides that a public entity is liable for
the injuries caused by its employees within the scope of the employment if the
employee’s act would subject him or her to liability.

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SEVENTH CAUSE OF ACTION
VIOLATION OF RALPH ACT, CAL. CIVIL CODE § 51.7
(Against All Defendants)

85. Plaintiff repeats and re-alleges all prior paragraphs of this Complaint and
incorporates the same herein by this reference as if those paragraphs were set forth
in full herein.

86. Plaintiff is informed and believes that each of the Defendants IBARRA,
HINSON, BILTON, LEVESQUE, MIRANDA, PEARSON, RODRIGUEZ, and
DOES 1 through 30 decided to batter and use excessive force upon the Plaintiff,
including kicking and beating the Plaintiff repeatedly while he was laying on the
ground and choking the Plaintiff while he was handcuffed, as a result of their
racial prejudice against him because he was an African-American male. Plaintiff
contends that the Defendants would not have battered Plaintiff all over the head
and body and used excessive force upon his person had he not been African-
American.

87. Consequently, in choosing to exercise severe and malicious force against
Plaintiff, each of the Defendants IBARRA, HINSON, BILTON, LEVESQUE,
MIRANDA, PEARSON, RODRIGUEZ, and DOES 1 through 30 discriminated
against him on account of his race and deprived him of civil rights protected under
the California Constitution.

88. In committing the acts described above, each of the Defendants violated
Plaintiff's right to be free from violence and intimidation by threats of violence
because of his race, as guaranteed him by Civil Code § § 51.7 and 43, in that
Defendants battered and used excessive force upon the Plaintiff, and intimidated
him by threatening to so batter and use excessive force against him.

89. As a direct and proximate result of the negligent and careless acts
described above, Plaintiff has been generally and specially damaged in a sum to

be established according to proof at the time of trial, as provided in Cal. Code of

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Civ. Proc. §§ 425.10 and 425.11.

90. As a direct and proximate result of the battery and excessive force
described above, Plaintiff suffered severe physical injuries inflicted upon him by
County personnel, including but not limited to the following: (1) bruising and
swelling on his face and head; (2) difficulty eating due to injuries to his mouth and
face; (3) swollen “black eyes;” (4) injuries to his hands from being beaten while
handcuffed; (5) difficulty walking due to pain in his legs; (6) severe pain over
much of his body.

91, As a further direct and proximate result of the foregoing, Plaintiff suffered
and continues to suffer from physical ailments, depression, nightmares, mental
anguish, irritability, anxiety, short-temper, moodiness, difficulty sleeping, social
withdrawal, tearfulness, and anger.

92. In doing the acts alleged in this complaint, each of the Defendants
IBARRA, HINSON, BILTON, LEVESQUE, MIRANDA, PEARSON,
RODRIGUEZ, and DOES 1 through 30, knew or through the exercise of
reasonable diligence should have known, that their actions were highly likely to
severely and/or fatally injure Plaintiff. Plaintiff is informed and believes, and on
that basis alleges, that each of those defendants intended to cause Plaintiff injury
and acted with a malicious, willful and conscious disregard for his rights as
secured by Civil Code § 51.7. He did nothing to justify the use of excessive force
against him, He was unarmed and had not posed any reasonable threat of death or
serious bodily harm to any person at or about the scene. He did not attempt to
resist. The unjustified use of excessive force against him was inflicted, in whole or
in part, on account of his race and with the intent to maliciously and oppressively
deny him of his civil rights, and/or to deprive him of his life, and/or to inflict
severe bodily injury on him. Accordingly, the conduct of IBARRA, HINSON,
BILTON, LEVESQUE, MIRANDA, PEARSON, RODRIGUEZ, and DOES 1

through 30 in battering and using excessive force upon his person him the

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awarding of punitive damages against each of them pursuant to Civil Code §
52(b)(1) and Civil Code § 3294.

93. As a further legal result of this civil rights violation, the Plaintiffs seek the
award of reasonable attorney fees as provided for in Civil Code § § 52.1(b) and
5§2.1(h), in an amount to be determined according to proof at trial.

94. Asa further legal result of this civil rights violation, the Plaintiffs seek in
addition to the other damages stated here, the statutory civil penalty of $25,000
per wrongdoer, except as to Defendants COUNTY, RCSD and DOES 1 through
30, pursuant to Civil Code § 52(b)(2).

95, Defendants COUNTY and RCSD are vicariously liable for the wrongful
acts of Defendants IBARRA, HINSON, BILTON, LEVESQUE, MIRANDA,
PEARSON, RODRIGUEZ, and DOES 1 through 30 pursuant to section 815.2 of
the California Government Code, which provides that a public entity is liable for
the injuries caused by its employees within the scope of the employment if the
employee's act would subject him or her to liability.

EIGHTH CAUSE OF ACTION
VIOLATION OF BANE ACT, CAL. CIVIL CODE § 52.1
(Against All Defendants)

96. Plaintiff repeats and re-alleges all prior paragraphs of this Complaint and
incorporates the same herein by this reference as if those paragraphs were set forth
in full herein.

97. On or about May 26, 2018, at the time and place described above, each of
the Defendants IBARRA, HINSON, BILTON, LEVESQUE, MIRANDA,
PEARSON, RODRIGUEZ, and DOES 1 through 30 interfered with Plaintiff's
exercise and enjoyment of rights guaranteed him by Civil Code § 52.1 and
California Constitution, Article I, § § 7 and 31, including the right to equal
protection under the laws of California and the right not to be discriminated

against on account of his race. Specifically, each of these Defendants

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discriminated against and interfered with Plaintiff's right to be free from any
threats and/or acts of violence or intimidation on account of his race; and, Plaintiff
was additionally discriminated against and denied equal protection and equal
rights under the law in that he was battered and subjected to excessive force on
account of his race as an African American.

98. As a direct and proximate result of the negligent and careless acts
described above, Plaintiff has been generally and specially damaged in a sum to
be established according to proof at the time of trial, as provided in Cal. Code of
Civ. Proc. §§ 425.10 and 425.11.

99. As a direct and proximate result of the battery and excessive force
described above, Plaintiff suffered severe physical injuries inflicted upon him by
County personnel, including but not limited to the following: (1) bruising and
swelling on his face and head; (2) difficulty eating due to injuries to his mouth and
face; (3) swollen “black eyes;” (4) injuries to his hands from being beaten while
handcuffed; (5) difficulty walking due to pain in his legs; (6) severe pain over
much of his body.

100. As a further direct and proximate result of the foregoing, Plaintiff
suffered and continues to suffer from physical ailments, depression, nightmares,
mental anguish, irritability, anxiety, short-temper, moodiness, difficulty sleeping,
social withdrawal, tearfulness, and anger.

101. In doing the acts alleged in this complaint, each of the Defendants
IBARRA, HINSON, BILTON, LEVESQUE, MIRANDA, PEARSON,
RODRIGUEZ, and DOES 1 through 30, knew or through the exercise of
reasonable diligence should have known, that their actions were highly likely to
severely and/or fatally injure Plaintiff. Plaintiff is informed and believes, and on
that basis alleges, that each of those defendants intended to cause Plaintiff injury
and acted with a malicious, willful and conscious disregard for his rights as

secured by Civil Code § 51.7. He did nothing to justify the use of excessive force

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PLAINTIFF’S COMPLAINT AND DEMAND FOR JURY TRIAL

 

 

 

 
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against him. He was unarmed and had not posed any reasonable threat of death or
serious bodily harm to any person at or about the scene. He did not attempt to
resist. The unjustified use of excessive force against him was inflicted, in whole or
in part, on account of his race and with the intent to maliciously and oppressively
deny him of his civil rights, and/or to deprive him of his life, and/or to inflict
severe bodily injury on him. Accordingly, the conduct of IBARRA, HINSON,
BILTON, LEVESQUE, MIRANDA, PEARSON, RODRIGUEZ, and DOES 1
through 30 in battering and using excessive force upon his person him the
awarding of punitive damages against each of them pursuant to Civil Code §
52(b)(1) and Civil Code § 3294.

102. As a further legal result of this civil rights violation, the Plaintiffs
seek the award of reasonable attorney fees as provided for in Civil Code § §
52.1(b) and 52.1(h), in an amount to be determined according to proof at trial.

103. As a further legal result of this civil rights violation, the Plaintiffs
seek in addition to the other damages stated here, the statutory civil penalty of
$25,000 per wrongdoer, except as to Defendants COUNTY, RCSD and DOES 1
through 30, pursuant to Civil Code § 52(b)(2).

104. Defendants COUNTY and RCSD are vicariously liable for the
wrongful acts of Defendants IBARRA, HINSON, BILTON, LEVESQUE,
MIRANDA, PEARSON, RODRIGUEZ, and DOES 1 through 30 pursuant to
section 815.2 of the California Government Code, which provides that a public
entity is liable for the injuries caused by its employees within the scope of the
employment if the employee's act would subject him or her to liability.

PRAYER FOR RELIEF
WHEREFORE, Plaintiffs pray for judgment against Defendants and Does 1
through 30, inclusive, as follows:

1. For general damages in an amount to be determined according to proof at

trial;

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PLAINTIFF’S COMPLAINT AND DEMAND FOR JURY TRIAL

 

 

 

 
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2. For special damages in a sum according to proof at the time of trial;

3. For prejudgment and post-judgment interest according to any applicable
provision of law, according to proof;

4. For attorney fees, costs, and expenses in an amount to be determined
according to proof at trial pursuant to Civil Code § 52(a), (b)(3) and 42
USS.C. § 1988 (b);

5. For punitive damages against each of the defendants except Defendants
COUNTY and RCSD pursuant to Civil Code § 52(b)(1), § 3294 and 42
U.S.C. § 1983;

6. For a statutory civil penalty of $25,000 pursuant to Civil Code § 52(b)(2)
against each of the Defendants, except Defendants COUNTY and RCSD;

7. For such other and further relief as the Court deems just and proper.

DATED: January 25, 2019 MCMURRAY HENRIKS, LLP

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Yana G. Henriks, Esq.
Attorneys for Plaintiff JARRELL RAYVON
ALLEN

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DEMAND FOR JURY TRIAL
Plaintiff JARRELL RAYVON ALLEN hereby demands a jury trial.

DATED: January 25, 2019 MCMURRAY HENRIKS, LLP
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Yana G. Hentriks, Esq.
Attorneys for Plaintiffs JARRELL RAYVON
ALLEN

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